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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA


                                           )
UNITED STATES OF AMERICA,                  )
                                           )   Criminal No. 1:14-cr-025
              v.                           )
                                           )   NOTICE
DENNIS SEABORN JONES,                      )   DESTRUCTION OF THE
                                           )   GOVERNMENT’S EXHIBITS
              Defendants.                  )
                                           )

        Pursuant to Local Criminal Rule 57(B), the government hereby gives Notice

that:

        1.    The government filed a Notice of Intent to Destroy the Government’s

Exhibits in the above captioned case on October 19, 2017. (Dkt. 71.)

        2.    No objections to the notice have been filed.

        3.    The government’s exhibits in the above caption case were destroyed or

otherwise disposed of on November 27, 2017.

                                               Respectfully submitted,

                                               Marc Krickbaum
                                               United States Attorney


                                        By:     /s/ Andrew H. Kahl
                                               Andrew H. Kahl
                                               Assistant United States Attorney
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CERTIFICATE OF SERVICE

I hereby certify that on November 27, 2017, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

     U.S. Mail       Fax      Hand Delivery

 X   ECF/Electronic filing     Other means



UNITED STATES ATTORNEY

By: /s/ Dawn Thomas
   Paralegal Specialist
